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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 21-60867-CIV-SMITH

 DELROY A. CHAMBERS, JR.,

                Plaintiff,

 v.

 FLORIDA RESORT PROPERTY
 MANAGEMENT, LLC,

               Defendant.
                                                  /

            NOTICE OF COURT PRACTICE ON NOTICE OF SETTLEMENT

        This matter is before the Court on the Notice of Settlement [DE 14], indicating that this

 matter has been fully settled. Upon consideration, it is hereby

        ORDERED that

        (1) The parties shall file their Stipulation of Dismissal in accordance with Federal Rule of

        Civil Procedure 41 on or before February 10, 2022. Failure to comply with this Order may

        result in the final dismissal of this case.

        (2) All pending motions not otherwise ruled upon are DENIED AS MOOT.

        (3) This case is CLOSED.

        DONE and ORDERED in Fort Lauderdale, Florida, this 10th day of January 2022.




 cc:    All Counsel of Record
